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                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA

Natalie Evans,                                  Case No.:

                 Plaintiff,

      vs.                                       COMPLAINT

Acceptance Loan Company,
an Alabama corporation,                         JURY TRIAL DEMAND

                 Defendant.




      NOW COMES THE PLAINTIFF, NATALIE EVANS, BY AND

THROUGH COUNSEL, MATTHEW LANDREAU, ESQ., and for her Complaint

against the Defendant, pleads as follows:

                                JURISDICTION

   1. Jurisdiction of this court arises under 15 U.S.C. §1681p.

   2. This is an action brought by a consumer for violation of the Fair Credit

      Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).




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                                   VENUE

3. The transactions and occurrences which give rise to this action occurred in

   Pell City, St. Clair County, Alabama.

4. Venue is proper in the Northern District of Alabama.



                                  PARTIES

5. Plaintiff is a natural person residing in Pell City, St. Clair County, Alabama.

6. The Defendants to this lawsuit is Acceptance Loan Company (“Acceptance

   Loan”) which is an Alabama corporation that conducts business in the state of

   Alabama.

                       GENERAL ALLEGATIONS

7. Acceptance Loan is inaccurately reporting its tradeline (“Errant Tradeline”)

   with an erroneous scheduled monthly payment amount of $163.00 on

   Plaintiff’s Equifax credit disclosure. The account reflected by the Errant

   Tradeline was charged off and closed. Plaintiff no longer has an obligation to

   make monthly payments to Acceptance Loan. Acceptance Loan closed the

   account and accelerated the balance due. Hence, the entire balance is due

   presently with no payment plan in place.

8. The Errant Tradeline should be reported by Acceptance Loan with a monthly

   payment of $0.00. Per credit reporting industry standard and the Credit


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   Reporting Resource Guide, which is the credit reporting manual created by

   the three major credit bureaus, no furnisher may report a monthly payment on

   a closed account.

9. On March 22, 2019, Plaintiff obtained her Equifax credit disclosure and

   noticed the Errant Tradeline inaccurately reporting with an erroneous monthly

   payment amount.

10.On or about April 26, 2019, Plaintiff submitted a letter to Equifax, disputing

   the Errant Tradeline.

11.In her dispute letter, Plaintiff explained that the account reflected by the Errant

   Tradeline was charged off and closed by Acceptance Loan. Plaintiff no longer

   has an obligation to make monthly payments to Acceptance Loan. Plaintiff

   asked Acceptance Loan to report the Errant Tradeline with the monthly

   payment amount of $0.00.

12.Equifax forwarded Plaintiff’s consumer dispute to Acceptance Loan.

13.Acceptance Loan received Plaintiff’s consumer dispute from Equifax.

14.Acceptance Loan did not consult the Credit Reporting Resource Guide as part

   of its investigation of Plaintiff’s dispute.

15.In response to Plaintiff’s dispute, Acceptance Loan verified to Equifax that its

   reporting of its Errant Tradeline was accurate.




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 16.Plaintiff had not received Equifax’s investigation results. Therefore, on June

    20, 2019, Plaintiff obtained her Equifax credit disclosure, which showed that

    Acceptance Loan failed or refused to report the scheduled monthly payment

    as $0.00 on the Errant Tradeline.

 17.As a direct and proximate cause of the Defendants’ negligent and/or willful

    failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681,

    et seq., Plaintiff has suffered credit and emotional damages. Plaintiff has also

    experienced undue stress and anxiety due to Defendants’ failure to correct the

    errors in her credit file or improve her financial situation by obtaining new or

    more favorable credit terms as a result of the Defendants’ violations of the

    FCRA.

                                   COUNT I

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                  ACCEPTANCE LOAN

 18. Plaintiff realleges the above paragraphs as if recited verbatim.

 19.After being informed by Equifax of Plaintiff’s consumer dispute of the

    scheduled monthly payment amount, Acceptance Loan negligently failed to

    conduct a proper investigation of Plaintiff’s dispute as required by 15 USC

    1681s-2(b).

 20.Acceptance Loan negligently failed to review all relevant information

    available to it and provided by Equifax in conducting its reinvestigation as
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        required by 15 USC 1681s-2(b) and failed to direct Equifax to report the

        Errant Tradeline with a $0.00 monthly payment amount.

   21.The Errant Tradeline is inaccurate and creates a misleading impression on

        Plaintiff’s consumer credit file with Equifax, to which it is reporting such

        tradeline.

   22.As a direct and proximate cause of Acceptance Loan’s negligent failure to

        perform its duties under the FCRA, Plaintiff has suffered damages, mental

        anguish, suffering, humiliation, and embarrassment.

   23.Acceptance Loan is liable to Plaintiff by reason of its violations of the FCRA

        in an amount to be determined by the trier of fact together with reasonable

        attorneys’ fees pursuant to 15 USC 1681o.

   24.Plaintiff has a private right of action to assert claims against Acceptance Loan

        arising under 15 USC 1681s-2(b).

        WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against the Defendant Acceptance Loan for damages, costs, interest, and attorneys’

fees.

                                     COUNT II

 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
                   ACCEPTANCE LOAN

   25. Plaintiff realleges the above paragraphs as if recited verbatim.



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   26.After being informed by Equifax that Plaintiff disputed the accuracy of the

      information it was providing, Acceptance Loan willfully failed to conduct a

      proper reinvestigation of Plaintiff’s dispute, and willfully failed to direct

      Equifax to report the Errant Tradeline with a $0.00 monthly payment amount.

   27.Acceptance Loan willfully failed to review all relevant information available

      to it and provided by Equifax as required by 15 USC 1681s-2(b).

   28.As a direct and proximate cause of Acceptance Loan’s willful failure to

      perform its duties under the FCRA, Plaintiff has suffered damages, mental

      anguish, suffering, humiliation, and embarrassment.

   29.Acceptance Loan is liable to Plaintiff for either statutory damages or actual

      damages she has sustained by reason of its violations of the FCRA in an

      amount to be determined by the trier of fact, together with an award of

      punitive damages in the amount to be determined by the trier of fact, as well

      as for reasonable attorneys’ fees and she may recover therefore pursuant to 15

      USC 1681n.


      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against the Defendant Acceptance Loan for the greater of statutory or actual

damages, plus punitive damages, along with costs, interest, and attorneys’ fees.



                                JURY DEMAND
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     Plaintiff hereby demands a trial by Jury.

DATED: April 28, 2020



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